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11
12                        IN THE UNITED STATES DISTRICT COURT
13                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14     FEDERAL TRADE COMMISSION                  Case No. SACV 19-02109 JVS (ADSx)
15
            Plaintiff                            Assigned to Hon. James V. Selna
16                                               Courtroom 10C
17     v.
                                                 CAREY G. HOWE, RUDDY PALACIOS,
18     AMERICAN FINANCIAL SUPPORT                AND SHUNMIN HSU’S OBJECTION
       SERVICES INC., et al.                     AND MOTION TO STRIKE
19                                               SUPPLEMENTAL DECLARATION OF
20          Defendants                           LAUREN FRANCE, PX27, AND
                                                 ATTACHMENTS
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                                       MOTION TO STRIKE
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 1         OBJECTION AND MOTION TO STRIKE SUPPLEMENTAL DECLARATION
 2                   OF LAUREN FRANCE, PX27, AND ATTACHMENTS
 3           Carey G. Howe, Ruddy Palacios, and Shunmin Hsu (the “Arete Individuals”) object
 4 to the FTC’s Supplemental Declaration of Lauren France, PX27, and more than 400 pages
 5 of accompanying attachments (“Supplemental Materials”), filed on November 14, 2019,1
 6 and move to strike it.
 7           The FTC submitted the voluminous Supplemental Materials after the Arete
 8 Individuals filed their opposition2 to the order to show cause why a preliminary injunction
 9 should not issue.3
10           Accordingly, because the Arete Individuals have not had a fair opportunity to
11 consider the new materials and file a response, the Court should strike the Supplemental
12 Materials. Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007) (“The district court need
13 not consider arguments raised for the first time in a reply brief.”); In re China Intelligent
14 Lighting & Elecs., Inc. Sec. Litig., 2012 WL 3834815, at *4 n.5 (C.D. Cal. Sept. 5, 2012)
15 (“The Court will not address new arguments raised for the first time in a reply brief.”);
16 Docusign, Inc. v. Sertifi, Inc., 468 F. Supp. 2d 1305, 1311 (W.D. Wash. 2006) (granting
17 motion to strike and stating “the Court will not consider [moving party’s] new facts,
18 evidence, and argument submitted for the first time in Reply”); U.S. ex rel. Giles v. Sardie,
19 191 F. Supp. 2d 1117, 1127 (C.D. Cal. 2000) (“It is improper for a moving party to introduce
20 new facts or different legal arguments in the reply brief than those presented in the moving
21 papers.”).
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25
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27     1
     Dkt. No. 55.
       2
28   Dkt. No. 49.
   3
     Dkt. No. 41.
                                                  1
                                        MOTION TO STRIKE
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1       Dated: November 15, 2019              BIENERT | KATZMAN PC
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3
                                              By:
4
                                                    Thomas H. Bienert, Jr.
5                                                   Ariana Seldman Hawbecker
                                                    Ali Matin
6
                                                    Attorneys for Defendants
7                                                   Carey G. Howe, Ruddy Palacios,
                                                    and Shunmin Hsu
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                                       MOTION TO STRIKE
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 1                                 CERTIFICATE OF SERVICE
 2           I, Carolyn K. Howland, declare that I am a citizen of the United States and am
 3 employed in Orange County, California; my business address is 903 Calle Amanecer, Suite
 4 350, San Clemente, California 92673; I am over the age of 18 and not a party to the above-
 5 entitled action. I am employed by a member of the United States District Court, and at
 6 whose direction I caused service of the following document on all parties in this action via
 7 the method of service described below.
 8               CAREY G. HOWE, RUDDY PALACIOS, AND SHUNMIN HSU’S
 9                OBJECTION AND MOTION TO STRIKE SUPPLEMENTAL
                  DECLARATION OF LAUREN FRANCE, PX27, AND ATTACHMENTS
10
11 [X] BY ELECTRONIC TRANSMISSION: by electronically filing the foregoing with
       the Clerk of the District Court using its CM/ECF System pursuant to the Electronic
12     Case Filing provision of the United States District Court General Order and the E-
13     Government Act of 2002, which electronically notifies said parties in this case:

14      Stephen Fairchild                              Thomas McNamara
15      Richard McKewen                                Edward Chang
        Federal Trade Commission                       Sanjay Bhandari
16      915 2nd Avenue, Suite 2896                     McNamara Smith LLP
17      Seattle, WA 98174                              655 W. Broadway, Suite 1600
        sfairchild@ftc.gov                             San Diego, CA 92101
18      rmckewen@ftc.gov                               echang@mcnamarallp.com
19                                                     sbhandari@mcnamarallp.com

20      Robert Quigley
        Federal Trade Commission
21
        10990 Wilshire Blvd, Suite 400
22      Los Angeles, CA 90024
        rquigley@ftc.gov
23
24
25           I declare under penalty of perjury under the laws of the United States of America
26 that the foregoing is true and correct. Executed on November 15, 2019, at San Clemente,
27 California.
28                                                    ___________________________
                                                      Carolyn K. Howland
                                                1
                                     CERTIFICATE OF SERVICE
